Case 8-19-74438-las

Doc 16 Filed 07/12/19 Entered 07/12/19 15:47:50

 

UNITED STATES BANKRUPTCY COURT HEARING DATE: September 5, 2019

EASTERN DISTRICT OF NEW YORK HEARING TIME: 10:00 a.m.

CENTRAL ISLIP DIVISION HEARING PLACE: Central Islip

IN RE
CHAPTER 7

TERESA FLORES
CASE NO. 8-19-74438-las
DEBTOR JUDGE: Hon. Louis A. Scarcella

 

NOTICE OF MOTION REQUESTING ENTRY OF AN ORDER GRANTING IN REM
RELIEF FROM THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. §§105(a) AND
362(d) WITH RESPECT TO THE FIRST MORTGAGE LIEN ON REAL PROPERTY
LOCATED AT 415 AMERICAN BOULEVARD, BRENTWOOD, NY 11717

PLEASE TAKE NOTICE that Nationstar Mortgage LLC d/b/a Mr. Cooper as servicer

for U.S. Bank National Ass

ociation, as Trustee, successor in interest to Bank of America,

National Association, as Trustee, successor by merger to LaSalle Bank National Association, as
Trustee for Merrill Lynch Mortgage Investors Trust, Mortgage Loan Asset-Backed Certificates,
Series 2007-HE1 by and through its undersigned counsel, will move this Court as set forth

below:

JUDGE:
RETURN DATE & TIME:

COURTHOUSE:

RELIEF REQUESTED:

11-012965

HON. Hon. Louis A. Scarcella
September 5, 2019 at 10:00 a.m.

United States Bankruptcy Court
Alfonse M. D'Amato U.S. Courthouse
290 Federal Plaza

Central Islip, NY 11722

The proposed order will seek to vacate the automatic stay imposed
by 11 U.S.C. section 362(a) with regard to the subject property
generally described as 415 American Boulevard Brentwood, NY
11717. Movant is seeking the entry of the order under 11 U.S.C. §
105(a) such as the one described pursuant to 11 U.S.C. § 362(d)(4)
which provides that’ any subsequent bankruptcy filings affecting
real property described herein shall not operate as a stay against
such real property for a period of two years from the entry of such
an order; or, in the alternative for confirmation no stay is in effect
pursuant to 11 U.S.C. § 362(c)(4) and for such other and further
relief as this Court may deem just and proper.
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PLEASE TAKE FURTHER NOTICE, that answering affidavits, if any, to the relief

requested, must be served upon and received by Shapiro, DiCaro & Barak, LLC at their offices at

175 Mile Crossing Boulevard, Rochester, NY 14624 and filed with the Clerk of the United States

Bankruptcy Court for the Eastern District of New York District of New York at United States

Bankruptcy Court, United States Bankruptcy Court, Alfonse M. D'Amato U.S. Courthouse, 290

Federal Plaza, Central Islip, NY 11722 no later than seven (7) days prior to the return date of this

motion.

Dated: July 12, 2019
Melville, New York

/s/Shari Barak

 

Shari S. Barak

Managing Attorney

Shapiro, DiCaro & Barak, LLC

Attorneys for Nationstar Mortgage LLC d/b/a Mr.
Cooper as Servicer for U.S. Bank National
Association, as Trustee, successor in interest to Bank
of America, National Association, as Trustee,
successor by merger to LaSalle Bank National
Association, as Trustee for Merrill Lynch Mortgage
Investors Trust, Mortgage Loan Asset-Backed
Certificates, Series 2007-HE1

One Huntington Quadrangle, Suite 3N05

Melville, NY 11747

Telephone: (631) 844-9611

Fax: (631) 844-9525

THIS IS AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION
OBTAINED WILL BE USED FOR THAT PURPOSE. THIS NOTICE IS REQUIRED BY
THE PROVISIONS OF THE FAIR DEBT COLLECTIONS PRACTICES ACT AND
DOES NOT IMPLY THAT WE ARE ATTEMPTING TO COLLECT MONEY FROM
ANYONE WHO HAS DISCHARGED THE DEBT UNDER THE BANKRUPTCY LAWS

OF THE UNITED STATES.

TO: SERVICE LIST

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UNITED STATES BANKRUPTCY COURT HEARING DATE: September 5, 2019
EASTERN DISTRICT OF NEW YORK HEARING TIME: 10:00 a.m.
CENTRAL ISLIP DIVISION HEARING PLACE: Central Islip
IN RE
CHAPTER 7
TERESA FLORES

CASE NO. 8-19-74438-las

DEBTOR JUDGE: Hon. Louis A. Scarcella

 

MOTION OF NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER REQUESTING
ENTRY OF AN ORDER GRANTING JN REM RELIEF FROM THE AUTOMATIC
STAY PURSUANT TO 11 U.S.C. §§105(a) AND 362(d), WITH RESPECT TO THE
FIRST MORTGAGE LIEN ON REAL PROPERTY LOCATED AT 415 AMERICAN
BOULEVARD, BRENTWOOD, NY 11717

Shari S. Barak, an attorney at law duly admitted to practice before the Courts of the State
of New York and the U.S. District Court for the Eastern District of New York, hereby affirms the
following to be true under penalty of perjury:

1. I am a member with the law firm of Shapiro, DiCaro & Barak, LLC, attorneys
Nationstar Mortgage LLC d/b/a Mr. Cooper.as servicer for U.S. Bank National Association, as
Trustee, successor in interest to Bank of America, National Association, as Trustee, successor by
merger to LaSalle Bank National Association, as Trustee for Merrill Lynch Mortgage Investors
Trust, Mortgage Loan Asset-Backed Certificates, Series 2007-HE1, a secured creditor of Teresa
Flores (“Debtor”). As such, I am fully familiar with the facts and circumstances of this case.

2. I make this Affirmation in support of the within request for a Comfort Order
seeking to confirm the automatic stay imposed by 11 U.S.C. § 362(a) for the subject property
generally described as 415 American Boulevard Brentwood, NY 11717, was not in effect as of
bankruptcy filing pursuant to 11 U.S.C. § 362(c)(4)(A)(ii) and for an Order pursuant to 105(a)

seeking in rem relief as described in 362(d)(4); and for such other and further relief as this Court

may deem just and proper.

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3. Jurisdiction is conferred on this Court by the provisions of 28 U.S.C. § 1334.
This is a proceeding to terminate and annul the automatic stay and is therefore a “core”
proceeding within the meaning of 28 U.S.C. § 157(b)(2).

L_ PRELIMINARY STATEMENT IN SUPPORT OF IN REM RELIEF

4, Within the past year and a half, a pending foreclosure has been halted or delayed
by various tactics, including multiple bankruptcy filings, by Teresa Flores (the “Debtor” or
“Borrower”). Each bankruptcy petition filing asserted an interest in the real property located at
415 American Boulevard, Brentwood, NY 11717 (the “Property”).

5. Prior to said foreclosure, Teresa Flores filed bankruptcy in the Bankruptcy Court
for the Eastern District of New York, under Chapter 7 as Case No. 8-10-74603-ast on June 14,
2010 (the “First Case”). The First case resulted is a successful discharge.

6. The case outlined above occurred prior to the pending foreclosure action however
we cite this case as an example for the court to demonstrate the abusive behavior of the Debtor
and the familiarity with the bankruptcy system.

7. The second case was filed pro se on October 29, 2018 in the Bankruptcy Court for
the Eastern District of New York under Chapter 13 as Case No. 8-18-77286-las (the “Second
Case”). The Second Case was a barebones petition and did not include all the schedules. The
Second Case was automatically dismissed pursuant to 11 U.S.C. § 521@)() for the Debtor’s
failure to file information, as required under 11 U.S.C. § 521(a)(1), and a Notice of Automatic
Dismissal Order was entered December 21, 2018 /ECF Doc. No. 18].

8. The third case was filed pro se on February 28, 2019 in the Bankruptcy Court for
the Eastern District of New York under Chapter 13 as Case No. 8-19-71446-las (the “Third

Case”). The Third Case was a barebones petition, did not include all the schedules, and included

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an application to have the filing fee paid in installments. The Third Case was automatically
dismissed pursuant to 11 U.S.C. § 521(i)(1) for the Debtor’s failure to file information, as
required under 11 U.S.C. § 521(a)(1), and a Notice of Automatic Dismissal Order was entered
April 17, 2019 [ECF Doc. No. 17].

9. The fourth and instant case was filed on June 18, 2019 in the Bankruptcy Court
for the Eastern District of New York under Chapter 7 as Case No. 1-19-74438-las (the “Fourth
Case”). As the current filing is a Chapter 7 filing, Movant avers that there is no realistic prospect
of reorganization, and that the instant case was filed in bad faith. Moreover, as this fourth case
represents the third case filed within one year of 2 pending cases both of which were dismissed
within a year of the filing of the present case, pursuant to 362(c)(4), the automatic stay is not
triggered and as such no stay is in effect. As such the foreclosure sale that was conducted on
June 19, 2019 was not stayed by the current bankruptcy filing and is a valid sale.

10. In addition to multiple bankruptcy filings outlined herein the Debtor engaged in
state court litigation by interposing an answer to the filed Summons and Complaint. The Debtor
was defeated in such attempt by order entered on November 30, 2017 however such litigation
created lengthy and costly delays to Movant.

11. The Debtor has not utilized the automatic stay for legitimately seeking a fresh
start. Rather, the multiple bankruptcy filings of the Debtor demonstrate an abuse of the
automatic stay and the bankruptcy system, used to thwart creditors’ efforts to enforce their state
law rights in their collateral. There is more than an adequate basis to conclude, under §
362(d)(4), that the multiple and largely unprosecuted cases are part of a scheme to delay, hinder,
or defraud the efforts of Movant and other creditors who seek to enforce their state law remedies

in the affected real property.

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FACTUAL BACKGROUND

12. | Movant is a secured creditor of the Debtor pursuant to a note executed by Teresa
Flores on July 11, 2006, whereby Teresa Flores promised to repay the principal amount of
$347,890.00 plus interest to Meritage Mortgage Corporation (the “Note”). To secure the
repayment of the Note, Debtor granted Mortgage Electronic Registration Systems, Inc., as
nominee for Meritage Mortgage a mortgage, which was duly recorded in Suffolk County Clerk's
Office on August 2, 2006 at Liber M00021352 of Mortgages, Page 588 (the “Mortgage,” Note
and Mortgage, collectively, as the “Loan”), encumbering real property located at 415 American
Boulevard, Brentwood, NY 11717 (the “Property”). The Mortgage was transferred to LaSalle
Bank, N.A. as Trustee for the MLMI Trust Series 2007-HE1, and said transfer was memorialized
by an Assignment of Mortgage executed on July 12, 2007 and recorded July 27, 2007 in Liber
M00021574 of Mortgages, page 952. (“Assignment of Mortgage”). LaSalle merged with
Movant pursuant to a merger agreement. Copies of the Note, Mortgage, Assignment of
Mortgage, and Appropriate Merger Documents are annexed hereto as Exhibit “A”.

13. The default date for this mortgage is December 2006, thus the mortgage has not
been paid in almost 13 years. Foreclosure proceedings with respect to the Property were initiated
by the filing of a summons and compliant in the Supreme Court of the State of New York,

County of Suffolk on June 4, 2013 under Index No. 13-14664.

14. Judgment of Foreclosure and Sale (“JFS”) was entered on August 15, 2018
granted by Hon. Howard H. Heckman J.S.C. A copy of the JFS is annexed hereto as Exhibit
“B”,

15. | The Loan is currently due for the December 1, 2006 installment. The default is

over 12 years at this time with payments due exceeding the original amount of the Loan. In fact,

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Debtor only made a total three payments under the terms of the Note. A copy of Relief from
Stay Real Estate Cooperative Apartments Affidavit (the “Relief from Stay Worksheet”), further
detailing the default, is annexed hereto as Exhibit “C”.

16. | According to a Broker’s Price Opinion (“BPO”) dated June 27, 2019, the value of
the Property is approximately $335,000.00. A copy of the BPO is attached hereto as Exhibit
“Dp”.

ARGUMENT IN FURTHER SUPPORT OF
IN REM RELIEF SUCH AS THE TYPE DESCRIBED UNDER 11 U.S.C. §362(d)(4)

17. Taken together, the four bankruptcy cases along with state court litigation,
Movant requests this Court to issue an Order pursuant to 11 U.S.C. § 105(a) that any future filing
under any Chapter of the Bankruptcy Code by Debtor and/or any other person or entity claiming
an interest in the Premises described above, within a period of two (2) years from the date of
entry of said Order will not trigger an automatic stay as to Movant its successors and/or assigns.

18. Section 105 provides the bankruptcy court with the ability to “issue any order,
process or judgment that is necessary or appropriate to carry out the provisions” of the
Bankruptcy Code. Bankruptcy Courts have relied on this section for authority to grant
prospective relief from the automatic stay when the debtor is a “serial filer” who abuses the
bankruptcy process to obtain the benefit of the automatic stay without any intention of
completing the process. See Decision of Judge Craig, In re Ward, Case No 09-47334, 1/12/10.

19. In determining whether to grant in rem relief, courts are granted broad authority
under 11 U.S.C. § 105(a). In re Lemma, 394 B.R. 315 (Bank E.D.N.Y. 2008) set forth the
elements necessary to obtain in rem relief. In rem relief was requested in that case based upon

the provisions of Section 362(d)(4). The Court in that case denied the request based upon the

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fact that it was unable to support the finding that the filings were part of a scheme to hinder,
delay and defraud the mortgagee. Unlike the facts of that case, the facts of the case at bar
demonstrate unequivocably that the requirements of 362(d)(4) exist and that these filings
represent such a scheme. Taken together, the four bankruptcy cases along with state court
litigation provide a more than adequate basis to find that the serial bankruptcy filings are part of
a scheme to delay, hinder and defraud secured creditors.

Section 362(d)(4) of the Code states that

. . after notice and a hearing, the court shall grant relief from the
stay. ..
(4) with respect to a stay of an act against real property under
subsection (a), by a creditor whose claim is secured by an interest in
such real property, if the court finds that the filing of the petition was
part of a scheme to delay, hinder, or defraud creditors that involved
either-

(A) transfer of all or part ownership of, or other interest in,
such real property without the consent of the secured creditor or court
approval; or

(B) = multiple bankruptcy filings affecting such real property. If
recorded in compliance with applicable State laws governing notices
of interests or liens in real property, an order entered under paragraph
(4) shall be binding in any other case under this title purporting to
affect such real property filed not later than 2 years after the date of the
entry of such order by the court, except that a debtor in a subsequent
case under this title may move for relief from such order based upon
changed circumstances or for good cause shown, after notice and a
hearing.

11 U.S.C. § 362(d)(4) (emphasis added).

20. To obtain relief under § 362(d)(4), the moving party has the burden of proving
that the current filing by the debtor “is part of a scheme, that the scheme involved the transfer of
real property or multiple filings, and that the object of the scheme is to hinder, delay, [or]!

defraud” the moving party. In re Lemma, 394 B.R. at 323.

 

' Prior to the 2010 amendments to the Bankruptcy Code, § 362(d)(4) relief required the filing of
a petition that was part of a scheme to “hinder, delay, and defraud creditor.” See Pub. L. 111-

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21. Courts have considered several factors in determining whether multiple filings
raise an inference of intent to hinder, delay or defraud secured creditors, including (1) debtor’s
failure to make post-petition payments on the loan, (2) debtor’s failure to file the required
documents and information necessary to prosecute the bankruptcy, and the timing and (3) the
sequencing of the filings. See In re Montalvo, 416 B.R. 381, 386-87 (Bankr. E.D.N.Y. 2009).

22. When evaluating whether to grant relief under § 362(d)(4), "the mere timing and
filing of several bankruptcy cases is an adequate basis from which a court can draw a reasonable
inference that the filing of a subsequent case was part of a scheme to hinder, delay, and defraud
creditors." In re Blair, 2009 Bankr. LEXIS 4195, 63 Collier Bankr. Cas. 2d (MB) 513 (noting
that each filing occurred on the eve or shortly before significant events effecting the property at
issue and consequently granting in rem relief). In addition, when debtor(s) “have evinced no true
intention to reorganize their financial affairs . . . but [rJather they have engaged in serial filings to
thwart the efforts of [a secured creditor] to exercise its lawful rights under state law . . . [t]he
serial filings are evidence of bad faith, and evidence of the fact that [the debtor(s)] are abusing

the bankruptcy process." In re Montalvo, 416 B.R. at 385-86 (granting in rem relief while

 

observing that the various cases filed between the present debtor and co-obligor were dismissed
for failure to comply with filing requirements).

23. The timing of the bankruptcy filings raise serious questions regarding Debtor’s
intent to hinder, delay and defraud Movant. The timing and sequencing of these events “allows
the Court to draw a permissible inference . . . that the instant petition [is] part of a scheme of
Debtor to delay, hinder, and defraud” Movant. In re Montalvo, 416 B.R. at 387.

24, Based on the foregoing, the creditor would be entitled to relief under § 362(d)(4)

in light of the numerous bankruptcy filings of the Debtor, the excessive default under the

 

327, Sec. 2(a)(12)(C) (2010) (emphasis added).

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mortgage and the lengthy delays caused by the debtor in proceeding with this action. These
actions constitute a scheme to hinder, delay, and defraud Movant as it attempts to exercise its
state law remedies as the owner of the Property.

25. By applying the provisions of § 362(d)(4) to the case at bar and taking into
account the standards set forth in In re Lemma as well as the holdings of Montalvo, Blair and
Smith, this court should grant in rem relief pursuant to § 105(a).

26. Movant, according to the laws of the State of New York, now desires to complete
its eviction proceedings and to otherwise obtain vacant possession of the Property. If Movant
were a secured creditor of debtor, the provisions of 11 U.S.C. § 362(d)(4) regarding in rem relief
would apply. The fact that Movant is now the owner of the premises and not a secured creditor
should not cause a diminution of any rights it would otherwise be entitled to as a secured
creditor. The behavior of the various debtors is that which § 362(d)(4) contemplates and
accounts for. As such the Movant should be afforded all the same protections which a secured
creditor would be entitled to receive including those described in 11 U.S.C. § 362(d)(4). This
Court may apply the remedy as set forth in § 362(d)(4) using its powers described in 11 U.S.C. §
105(b).

27. Under New York State law, the Debtor herein is without legal or equitable interest
in the Property. The transfer of the Property occurred the moment the Property was sold at the
foreclosure sale. There being no right of redemption in New York State, the Debtor retains no
interest in the Property and would be unable to decelerate or reinstate the mortgage. The

Property is therefore not property of the Debtor's bankruptcy estate. See In re Ghosh, 38 B.R.

 

600 (1984) and In re Ellis, 40 B.R. 760 at 766 (E.D.N.Y. 1984).

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28. Under facts similar to those now before this Court, the Bankruptcy Court in the
Eastern District of New York ruled that the automatic stay provisions of 11 U.S.C. § 362 did not

apply to the mortgagee, purchaser or referee appointed in the foreclosure proceedings. See In re

 

Cretella, 42 B.R. 526 (E.D.N.Y. 1984).

29. As such it is respectfully requested that this Court grant in rem relief as to any
future filings by the Debtor or any other person or entity claiming an interest in the Premises,
within two years from the entry of the Order and said filing shall not operate as an automatic stay
against Movant its successor and/or assigns. It is further respectfully requested that given the
delay tactics of the debtor, that the Court waive the fourteen (14) day stay invoked pursuant to
Fed. R. Bank. P 4001(a)(3)

IV. IN THE ALTERNATIVE, MOVANT REQUESTS CONFIRMATION NO STAY IS
IN EFFECT UNDER 11 U.S.C. § 362(c)(4).
30. Inthe event this Court finds that in rem relief is not warranted, Movant
respectfully requests confirmation that no stay is in effect pursuant to 11 U.S.C. § 362(c)(4).
31. 11 U.S.C. § 362(c)(4)(A) provides in pertinent part:
(i) if a single or joint case is filed by or against a debtor who is an individual
under this title, and if 2 or more single or joint cases of the debtor were pending
within the previous year but were dismissed, other than a case refiled under a
chapter other than chapter 7 after dismissal under section 707(b), the stay under
subsection (a) shall not go into effect upon the filing of the later case; and

(ii) on request of a party in interest, the court shall promptly enter an order
confirming that no stay is in effect;

32. In the instant case, the Second Case, Third Case, and Fourth Case were all
pending within one calendar year. The Debtor has failed to retmpose the stay in any case.
Resultantly, Movant respectfully requests an Order confirming no stay is in effect pursuant to 11
U.S.C. § 362(c)(4). Movant further requests an Order pursuant to 105(a) for in rem relief as

described in 362(d)(4).

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33. The Debtor, Debtor’s Attorney, the Chapter 13 Trustee and the Office of the
United States Trustee have each been duly served with the within Notice of Motion, Affirmation,
Exhibits and proposed Order Vacating Stay, as more fully set forth in the annexed affidavit of
mailing.

34. No prior application has been made for the relief requested herein.

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CONCLUSION

WHEREFORE, for the reasons set forth herein, the Secured Creditor respectfully requests
that the Secured Creditor’s Motion for Jn Rem Relief be granted pursuant to 11 U.S.C. §§ 105(a)
and 362(d)(4), such that any and all future filings under the Bankruptcy Code during the next
two years by any person or entity with an interest in the Property, shall not operate as a stay as to
Secured Creditor’s enforcement of its rights in and to 415 American Boulevard, Brentwood, NY
11717, or, in the alternative, for an order pursuant to 11 U.S.C. § 362(c)(4), together with any
further relief that this Court deems appropriate.

Dated: July 12, 2019
Melville, New York

/s/Shari Barak

Shari S. Barak

Managing Attorney

Shapiro, DiCaro & Barak, LLC

Attorneys for Nationstar Mortgage LLC d/b/a Mr.
Cooper as Servicer for U.S. Bank National
Association, as Trustee, successor in interest to Bank
of America, National Association, as Trustee,
successor by merger to LaSalle Bank National
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UNITED STATES BANKRUPTCY COURT HEARING DATE: September 5, 2019
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CENTRAL ISLIP DIVISION HEARING PLACE: Central Islip
IN RE
CHAPTER 7
TERESA FLORES

CASE NO. 8-19-74438-las

DEBTOR JUDGE: Hon. Louis A. Scarcella

 

ORDER PURSUANT TO 11 U.S.C. § 362(d)(4)
MODIFYING THE AUTOMATIC STAY IMPOSED BY 11 U.S.C. § 362(a)

Upon the motion, dated July 12, 2019 (the “Motion”), of Nationstar Mortgage
LLC d/b/a Mr. Cooper as servicer for U.S. Bank National Association, as Trustee, successor in
interest to Bank of America, National Association, as Trustee, successor by merger to LaSalle
Bank National Association, as Trustee for Merrill Lynch Mortgage Investors Trust, Mortgage
Loan Asset-Backed Certificates, Series 2007-HE1, (with any subsequent successor or assign, the
“Secured Creditor”), for an order, pursuant to 11 U.S.C. §§ 105 (a) and 362(d)(4), for in rem
relief from the automatic stay imposed in subsequent cases under 11 U.S.C. § 362(a), such that
any and all future filings under the Bankruptcy Code during the next two years by the Debtor
herein, Teresa Flores or any other person or entity with an interest in the Property shall not
operate as a stay as to Movant’s enforcement of its rights in and to 415 American Boulevard,
Brentwood, NY 11717 (the “Collateral”) and after due and sufficient service and notice, the
Court having held a hearing on the Motion on September 5, 2019 and no opposition having been
submitted; and, after due deliberation, the Court having determined that the filing of the Debtor's
bankruptcy petition was part of a scheme to delay, hinder, and defraud creditors that has
involved multiple bankruptcy filings by the Debtor and affecting the Property; and good and

sufficient cause appearing, including the failure of the Debtor to perform their duties as a debtor

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under the Bankruptcy Code in good faith in multiple bankruptcy cases affecting the Property, it
is

ORDERED that, the automatic stay, pursuant to 11 U.S.C. § 362(a), is hereby vacated
for cause pursuant to 11 U.S.C. § 362(d) as to, Specialized Loan Servicing LLC. as servicer for
Deutsche Bank National Trust Company, as Trustee for Morgan Stanley ABS Capital I Inc. Trust
2006-HE3 Mortgage Pass-Through Certificates, Series 2006-HE3 its agents, assigns or
successors-in-interest, may take any and all actions under applicable state law necessary to
continue its foreclosure proceedings on premises known as 415 American Brentwood, NY
11717( “Property”) without further application to this Court; and it is further

ORDERED that, pursuant to 11 U.S.C. §§ 105(a) and 362(d)(4), in rem relief from the
automatic stay imposed in subsequent cases under 11 U.S.C. § 362(a) is granted, such that any
and all future filings under the Bankruptcy Code during the next two years by the debtor herein
or any other person or entity with an interest in the Property, shall not operate as a stay as to
Movant’s enforcement of its rights in and to the Property.

ORDERED that in the event this case is converted to a case under any other chapter of

the U.S. Bankruptcy Code, this Order will remain in full force and effect;

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SHAPIRO, DICARO & BARAK, LLC

Attorneys for Nationstar Mortgage LLC d/b/a Mr. Cooper
as Servicer for U.S. Bank National Association, as Trustee,
successor in interest to Bank of America, National
Association, as Trustee, successor by merger to LaSalle
Bank National Association, as Trustee for Merrill Lynch
Mortgage Investors Trust, Mortgage Loan Asset-Backed
Certificates, Series 2007-HE1

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Shari S. Barak

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

CENTRAL ISLIP DIVISION
IN RE CHAPTER 7
TERESA FLORES CASE NO. 8-19-74438-las
DEBTOR
FRID

STATE OF NEW YORK _ )
COUNTY OF SUFFOLK .

I, Alicia McNamee, being sworn, say, I am not a party to this action; I am over 18 years
of age, I reside in Suffolk County, New York.

On July 12, 2019 I served the within Notice of Motion, Motion in Support, Exhibits and
Proposed Order Granting Relief from Automatic Stay upon:
TO: Debtor

Teresa Flores

415 American Boulevard
Brentwood, NY 11717

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Attorney for Debtor
Kafi Harris

41 Hilton Avenue
Hempstead, NY 11550

Trustee

Marc A. Pergament

Weinberg, Gross & Pergament
400 Garden City Plaza

Suite 403

Garden City, NY 11530

U.S. Trustee
Long Island Federal Courthouse
560 Federal Plaza - Room 560
Central Islip, NY 11722
at the addresses designated by the foregoing individuals for that purpose by depositing a true

copy of same enclosed in a postpaid, properly addressed wrapper, in an official depository under

the exclusive care and custody of the United States Postal Service within the State of New York.

11-012965
 

Case 8-19-74438-las Doc16 Filed 07/12/19 Entered 07/12/19 15:47:50

Date July 12, 2019

Sworn to before me this
[ Sthday of , 2019
(dou G000,

Notary Public

 

DEBORAH CALLAHAN
Notary Public, State of New York
Registration No. 01-CA6278202

_ Qualified in Suffotk.c
Commission Expires & 4] { ¥ 202\ :

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Bankruptcy Paralegal
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National Association, as Trustee, successor
in interest to Bank of America, National
Association, as Trustee, successor by merger
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